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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;1&lt;/A&gt;-00&lt;A NAME="2"&gt;015&lt;/A&gt;-CR&lt;/CENTER&gt;


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&lt;CENTER&gt;&lt;A NAME="3"&gt;Randy Ray Kersey&lt;/A&gt;, Appellant&lt;/CENTER&gt;


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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
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&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;BELL&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;264TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
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&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;51,117&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;RICK MORRIS&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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Appellant Randy Ray Kersey pleaded no contest to indecency with a child.  &lt;EM&gt;See&lt;/EM&gt; Tex.
Penal Code Ann. § 21.11 (West Supp. 2001).  The district court adjudged him guilty and assessed
punishment at imprisonment for four years, in accord with a plea bargain agreement.

&lt;P&gt;Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of &lt;EM&gt;Anders v. California&lt;/EM&gt;, 386 U.S. 738(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  &lt;EM&gt;See also&lt;/EM&gt; &lt;EM&gt;Penson v. Ohio&lt;/EM&gt;, 488 U.S. 75 (1988); &lt;EM&gt;High v. State&lt;/EM&gt;, 573
S.W.2d 807 (Tex. Crim. App. 1978); &lt;EM&gt;Currie v. State&lt;/EM&gt;, 516  S.W.2d 684 (Tex. Crim. App. 1974);
&lt;EM&gt;Jackson v. State&lt;/EM&gt;, 485 S.W.2d 553 (Tex. Crim. App. 1972); &lt;EM&gt;Gainous v. State&lt;/EM&gt;, 436 S.W.2d 137 (Tex.
Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and appellant was advised
of his right to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.&lt;/P&gt;

&lt;P&gt;When a defendant pleads guilty to a felony and the punishment assessed does not
exceed that recommended by the prosecutor and agreed to by the defendant, the notice of appeal
must state that the appeal is for a jurisdictional defect, or that the substance of the appeal was raised
by written motion and ruled on before trial, or that the trial court granted permission to appeal.  Tex.
R. App. P. 25.2(b)(3).  The notice of appeal in this cause does not comply with this rule.  In opinions
announced after the briefs were filed in this cause, both this Court and the Texas Court of Criminal
Appeals have held that if a notice of appeal does not comply with rule 25.2(b)(3), it fails to confer
appellate jurisdiction.  &lt;EM&gt;Whitt v. State&lt;/EM&gt;, No. 03-00-00194-CR (Tex. App.--Austin April 19, 2001, no
pet. hist.); &lt;EM&gt;see also Cooper v. State&lt;/EM&gt;, No. 1100-99, slip op. at 6-8 (Tex. Crim. App. April 4, 2001).&lt;/P&gt;

&lt;P&gt;The appeal is dismissed for want of jurisdiction.&lt;/P&gt;

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&lt;P&gt;				__________________________________________&lt;/P&gt;

&lt;P&gt;				Bea Ann Smith, Justice&lt;/P&gt;

&lt;P&gt;Before Justices Kidd, B. A. Smith and Puryear &lt;/P&gt;

&lt;P&gt;Dismissed for Want of Jurisdiction&lt;/P&gt;

&lt;P&gt;Filed:   May 17, 2001&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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